       Case 7:22-cv-00121 Document 16 Filed on 07/08/22 in TXSD Page 1 of 2
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

LAWRENCE MICHAEL ARCHER                            §
    Plaintiff                                      §      LAWRENCE MICHAEL ARCHER
VS.                                                §      NO: 7:22-cv-00121
                                                   §
CARRINGTON MORTGAGE SERVICES LLC                   §
AND CONNIE COBB,                                   §
AS SUBSTITUTE TRUSTEE                              §
     Defendants                                    §

                           JOINT STIPULATION OF DISMISSAL

      IT IS HEREBY stipulated and agreed between the above-numbered and styled

Plaintiff , LAWRENCE MICHAEL ARCHER , (“ Plaintiff ) , and Defendants, CARRINGTON

MORTGAGE SERVICES LLC AND CONNIE COBB, as Substitute Trustee (“ Defendants” ) ,

that all claims asserted or which could have been asserted by Plaintiff against Defendants

in the above-numbered cause are HEREBY DISMISSED WITH PREJUDICE pursuant to

Rule 41(a)( 1) of the Federal Rules of Civil Procedure.

      This Joint Stipulation of Dismissal shall be effective upon filing of same with the

clerk of the Court in the above numbered and styled cause.

                                       Respectfully submitted ,

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                                       BY: / s /
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                                      LAWRENCE MICHAEL ARCHER
        Case 7:22-cv-00121 Document 16 Filed on 07/08/22 in TXSD Page 2 of 2



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      /s/ Jacob Sparks
BY:
ATTORNEY FOR CARRINGTON
MORTGAGE SERVICES
